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                                   UNITED STATES JUDICIAL PANEL
                                                on
                                    MULTIDISTRICT LITIGATION

IN RE: SOCIAL MEDIA ADOLESCENT
ADDICTION/PERSONAL INJURY PRODUCTS
LIABILITY LITIGATION                                                                             MDL No. 3047


                                                                                                
                                       (SEE ATTACHED SCHEDULE)
                                                                                                 Jun 25 2024
                                                                                                -ARK""USBY
                            CONDITIONAL TRANSFER ORDER (CTO í33)                            
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On October 6, 2022, the Panel transferred 20 civil action(s) to the United States District Court for the
Northern District of California for coordinated or consolidated pretrial proceedings pursuant to 28 U.S.C. §
1407. See 637 F.Supp.3d 1377 (J.P.M.L. 2022). Since that time, 148 additional action(s) have been
transferred to the Northern District of California. With the consent of that court, all such actions have been
assigned to the Honorable Yvonne Gonzalez Rogers.
It appears that the action(s) on this conditional transfer order involve questions of fact that are common to the
actions previously transferred to the Northern District of California and assigned to Judge Rogers.

Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict Litigation,
the action(s) on the attached schedule are transferred under 28 U.S.C. § 1407 to the Northern District of
California for the reasons stated in the order of October 6, 2022, and, with the consent of that court, assigned
to the Honorable Yvonne Gonzalez Rogers.

This order does not become effective until it is filed in the Office of the Clerk of the United States District
Court for the Northern District of California. The transmittal of this order to said Clerk shall be stayed 7 days
from the entry thereof. If any party files a notice of opposition with the Clerk of the Panel within this 7íday
period, the stay will be continued until further order of the Panel.



                                                           FOR THE PANEL:



   Jun 25, 2024
                                                           Tiffaney D. Pete
                                                           Clerk of the Panel
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IN RE: SOCIAL MEDIA ADOLESCENT
ADDICTION/PERSONAL INJURY PRODUCTS
LIABILITY LITIGATION                                                             MDL No. 3047



                     SCHEDULE CTOí33 í TAGíALONG ACTIONS



  DIST       DIV.      C.A.NO.     CASE CAPTION


FLORIDA MIDDLE

  FLM         3       24í00522     Clay County School District v. Alphabet Inc. et al

NORTH CAROLINA MIDDLE

                                   CHATHAM COUNTY BOARD OF EDUCATION v.
  NCM         1       24í00489     META PLATFORMS, INC. et al
                                   MOORE COUNTY BOARD OF EDUCATION v. META
  NCM         1       24í00490     PLATFORMS, INC. et al
